


  PER CURIAM.
 

  The petition is granted and Delio Sanchez is hereby afforded a belated appeal from judgment and sentence in case number 06-528-CF in the Circuit Court for Suwannee County. Upon issuance of mandate in this proceeding, a copy of the opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal.
  
   See
  
  Fla. R.App. P. 9.141(c)(5)(D). Counsel shall be appointed to represent Mr. Sanchez in the appeal if he qualifies for such an appointment.
 

  PETITION GRANTED.
 

  KAHN, WEBSTER, and ROBERTS, JJ., concur.
 
